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10

11
                                   UNITED STATES DISTRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13

14   AMANDA EVERSON, individually and on               Case No.
     behalf of all other persons similarly situated,
15
                                                       CLASS ACTION COMPLAINT
16                                  Plaintiff,
                                                       JURY TRIAL DEMANDED
17                  v.

18   PACIFIC MARKET INTERNATIONAL, LLC
     d/b/a STANLEY
19
                          Defendant.
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     CLASS ACTION COMPLAINT
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 1            Plaintiff Amanda Everson (“Plaintiff”) files this class action complaint on behalf of herself
 2   and all others similarly situated (the “Class Members”) against Defendant, Pacific Market
 3   International, LLC d/b/a Stanley (“Defendant” or “Stanley”). Plaintiff brings this action based
 4   upon personal knowledge of the facts pertaining to herself, and on information and belief as to all
 5   other matters, by and through the investigation of the undersigned counsel.
 6                                       NATURE OF THE ACTION
 7            1.     This is a class action suit brought against Stanley for aiding, agreeing with,
 8   employing, procuring, or otherwise enabling the wiretapping of the electronic communications of
 9   visitors to its website, https://www.stanley1913.com (the “Website”).
10            2.     Specifically, Defendant aids, agrees with, procures, or otherwise enables Meta
11   Platforms, Inc. (“Meta”), a third-party service provider, to collect information from visitors to its
12   Website.
13            3.     In particular, Defendant enables Meta, to eavesdrop on Website visitors’
14   communications as they conduct searches and browse for products on the Website without visitors’
15   prior consent. Defendant has enabled Meta’s interception of visitor’s communications by
16   employing Meta’s services to track users across the Website using Meta’s pixel tracker—the Meta
17   Pixel.
18            4.     The electronic communications made in response to Website visitor’s searches
19   conducted on the Website are contemporaneously captured or otherwise acquired by Meta to,
20   among other things, assist Defendant with its marketing, advertising, and data analytics efforts.
21            5.     The nature of the Meta’s licensing agreement with Defendant is such that Defendant
22   “aids, agrees with, employs, or conspires” to permit Meta to read, attempt to read, to learn, and/or
23   to use the confidential communications of Website visitors without prior consent, thus violating the
24   California Invasion of Privacy Act (“CIPA”), Cal. Penal Code §§ 631(a) and 632.
25            6.     Plaintiff brings this action on behalf of all California residents who conducted
26   searches for products on the Website while in California, and whose electronic communications
27   were intercepted or recorded by Meta.
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     CLASS ACTION COMPLAINT                                                                                   1
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 1                                              THE PARTIES
 2   I.     PLAINTIFF
 3          7.      Plaintiff Amanda Everson is an adult citizen of the state of California and resides in
 4   Martinez, California.
 5          8.      Plaintiff Everson created a Facebook account around 2008. Between November and
 6   December of 2023, Plaintiff Everson accessed Defendant’s Website to search for some of
 7   Defendant’s products on the same browser she uses to access her Facebook account. Specifically,
 8   Plaintiff Everson used the search bar on Defendant’s Website to search for the IceFlow and
 9   Quencher products, by typing these product names into the search bar. Each of these
10   communications were intercepted in transit by Meta—as enabled by Defendant. Neither Defendant
11   nor Meta procured Plaintiff Everson’s prior consent to this interception. Plaintiff Everson did not
12   discover and could not have discovered this violation until approximately February 2024 upon
13   discussion with her retained counsel.
14   II.    DEFENDANT
15          9.      Defendant Pacific Market International, LLC d/b/a Stanley, is incorporated in the
16   State of Washington and has its principal place of business in Seattle, Washington. Defendant is a
17   corporation most known for its sale of drinkware products.
18                                     JURISDICTION AND VENUE
19          10.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)
20   because this case is a class action where the aggregate claims of all members of the proposed class
21   are in excess of $5,000,000, exclusive of interest and costs, and at least one member of the
22   proposed class is a citizen of a state different from at least one Defendant.
23          11.     The Court has specific personal jurisdiction over Defendant because Plaintiff’s
24   claims relate to and arise from Stanley’s contacts with California and Stanley’s contacts with
25   California represent a purposeful availment of the privilege of conducting activities in California.
26          12.     Specifically, Stanley’s contacts with California involve Stanley collecting user
27   activity data for California residents that utilize Stanley’s Website and using that data to “tailor
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     CLASS ACTION COMPLAINT                                                                                 2
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 1   advertisements and content to increase user engagement” in California. See Rancourt v. Meredith
 2   Corp., No. 22-CV-10696-ADB, 2024WL 381344, at *9 (D. Mass. Feb. 1, 2024). As described in
 3   detail below, Stanley can use California Website users’ data to increase user engagement in
 4   California through its use of Meta’s advertising tools, such as building Custom Audiences. As
 5   such, Stanely is not only aware that it obtains data from California Website users, but is also
 6   “taking a ‘voluntary act[]’ to foster the ‘“regular flow or regular course of sales”’ from California.
 7   See id. (citing Knox v. MetalForming Inc., 914 F.3d 685, 692 (1st Cir. 2019)). By engaging in its
 8   practice of collecting and sharing California consumers’ data with Meta to target California
 9   consumers with advertising, Stanley also ultimately derives revenue from California consumers.
10          13.     Plaintiff’s claims are related to and arise out of Stanley’s contacts with California
11   because by using California Website users’ data to target California consumers with advertising,
12   Stanley obtains more Website traffic from California, allowing Stanley to further collect and
13   disclose its California Website users’ communications—i.e. enabling Meta’s interception of users’
14   communications with Stanley. See id. at *10.
15          14.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial
16   part of the events or omissions giving rise to the claims occurred in this District.
17                                      FACTUAL ALLEGATIONS
18   I.     OVERVIEW OF THE META PIXEL
19          15.     Defendant enables Meta to intercept Plaintiff and Class Members’ communications
20   by employing the Meta Pixel on the Website in the manner described throughout this Complaint.
21          16.     Facebook describes itself as a “real identity platform,” 1 meaning users are allowed
22   only one account and must share “the name they go by in everyday life.” 2 To that end, when
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26     Sam Schechner and Jeff Horwitz, How Many Users Does Facebook Have? The Company
     Struggles to Figure It Out, WALL. ST. J. (Oct. 21, 2021).
     2
27     FACEBOOK, COMMUNITY STANDARDS, PART IV INTEGRITY AND AUTHENTICITY,
     https://www.facebook.com/communitystandards/integrity_authenticity.
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     CLASS ACTION COMPLAINT                                                                                   3
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 1   creating an account, users must provide their first and last name, along with their birthday and
 2   gender. 3
 3           17.    Meta owns facebook.com and generates revenue by selling advertising space on that
 4   website, and other applications it owns, like Instagram. 4 In 2021, Facebook generated $117 billion
 5   in revenue. 5 Roughly 97% of that came from selling advertising space. 6
 6           18.    Meta sells advertising space by highlighting its ability to target users. 7 Meta can
 7   target users so effectively because it surveils user activity both on and off its site. 8 This allows
 8   Meta to make inferences about users beyond what they explicitly disclose, like their “interests,”
 9   “behavior,” and “connections.” 9 Meta compiles this information into a generalized dataset called
10   “Core Audiences,” which advertisers use to apply highly specific filters and parameters for their
11   targeted advertisements. 10
12           19.    Advertisers can also build “Custom Audiences.” 11 Custom Audiences enable
13   advertisers to reach “people who have already shown interest in [their] business, whether they’re
14   loyal customers or people who have used [their] app or visited [their] website.” 12 With Custom
15   Audiences, advertisers can target existing customers directly, and can also build “Lookalike
16   3
       FACEBOOK, SIGN UP, https://www.facebook.com/
     4
17     Mike Isaac, Facebook’s profit surges 101 percent on strong ad sales, N.Y. TIMES (July 28, 2021),
     https://www.nytimes.com/2021/07/28/business/facebook-q2-earnings.html.
18   5
       FACEBOOK, META REPORTS FOURTH QUARTER AND FULL YEAR 2021 RESULTS,
19   https://investor.fb.com/investor-news/press-release-details/2022/Meta-Reports-Fourth-Quarter-and-
     Full-Year-2021-Results/default.aspx
     6
20     Id.
     7
21     FACEBOOK, WHY ADVERTISE ON FACEBOOK, https://www.facebook.com/business/help/
     205029060038706.
     8
22     FACEBOOK, ABOUT FACEBOOK PIXEL, https://www.facebook.com/business/help/
     742478679120153?id=1205376682832142.
23   9
       FACEBOOK, AD TARGETING: HELP YOUR ADS FIND THE PEOPLE WHO WILL LOVE YOUR
24   BUSINESS, https://www.facebook.com/business/ads/ad-targeting.
     10
        FACEBOOK, EASIER, MORE EFFECTIVE WAYS TO REACH THE RIGHT PEOPLE ON FACEBOOK,
25   https://www.facebook.com/business/news/Core-Audiences.
     11
26      FACEBOOK, ABOUT CUSTOM AUDIENCES, https://www.facebook.com/business/help/
     744354708981227?id=2469097953376494.
     12
27      FACEBOOK, AD TARGETING, HELP YOUR ADS FIND THE PEOPLE WHO WILL LOVE YOUR
     BUSINESS, https://www.facebook.com/business/ads/ad-targeting.
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     CLASS ACTION COMPLAINT                                                                                  4
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 1   Audiences,” which “leverage[] information such as demographics, interests, and behavior from
 2   your source audience to find new people who share similar qualities.” 13
 3          20.     Unlike Core Audiences, advertisers can build Custom Audiences and Lookalike
 4   Audiences only if they first supply Meta with the underlying data. They can do so through two
 5   mechanisms: by manually uploading contact information for customers, or by utilizing Meta’s
 6   “Business Tools.” 14
 7          21.     As Meta puts it, the Business Tools “help website owners and publishers, app
 8   developers and business partners, including advertisers and others, integrate with Meta, understand
 9   and measure their products and services, and better reach and serve people who might be interested
10   in their products and services.” 15
11          22.     Put succinctly, Meta’s Business Tools are bits of code that advertisers can integrate
12   into their website, mobile applications, and servers, thereby enabling Meta to intercept and collect
13   user activity on those platforms.
14          23.     The Business Tools are automatically configured to capture certain data, like when a
15   user visits a webpage, that webpage’s Universal Resource Locator (“URL”) and metadata, or when
16   a user downloads a mobile application or makes a purchase. 16 However, Meta’s Business Tools
17   can also track other events. Meta offers a menu of “standard events” from which advertisers can
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21      Facebook, About Lookalike Audiences, https://www.facebook.com/business/help/
     164749007013531?id=401668390442328.
     14
22      FACEBOOK, CREATE A CUSTOMER LIST CUSTOM AUDIENCE, https://www.facebook.com/
     business/help/170456843145568?id=2469097953376494; FACEBOOK, CREATE A WEBSITE CUSTOM
23   AUDIENCE, https://www.facebook.com/business/help/1474662202748341?id=
     2469097953376494.
24   15
        FACEBOOK, THE FACEBOOK BUSINESS TOOLS, https://www.facebook.com/help/
25   331509497253087.
     16
        See FACEBOOK, FACEBOOK PIXEL, ACCURATE EVENT TRACKING, ADVANCED, https://
26   developers.facebook.com/docs/facebook-pixel/advanced/; see also FACEBOOK, BEST PRACTICES
     FOR FACEBOOK PIXEL SETUP, https://www.facebook.com/business/help/218844828315224?id=
27   1205376682832142; FACEBOOK, APP EVENTS API, https://developers.facebook.com/docs/
     marketing-api/app-event-api/.
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     CLASS ACTION COMPLAINT                                                                                 5
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 1   choose, including what content a visitor views or purchases. 17 Advertisers can even create their
 2   own tracking parameters by building a “custom event.” 18
 3          24.     One such Business Tool is the Meta Tracking Pixel. Meta offers this piece of code
 4   to advertisers, like Defendant, to integrate into their websites. As the name implies, the Meta
 5   Tracking Pixel “tracks the people and type of actions they take.” 19 When a user accesses a website
 6   hosting the Meta Tracking Pixel, Meta’s software surreptitiously directs the user’s browser to
 7   simultaneously send a separate message to Meta’s servers. This second, secret transmission
 8   contains the original GET request sent to the host website, along with additional data the Pixel is
 9   configured to collect. This transmission is initiated by Meta code and concurrent with the
10   communications with the host website. Two sets of code are thus automatically run as part of the
11   browser’s attempt to load and a website: the website’s own code, and Meta’s embedded code.
12          25.     An example illustrates the point. Take an individual who navigates to Stanely’s
13   Website and searches for the Quencher product. Once the individual conducts the search, the
14   individual’s browser sends a GET request to Defendant’s server requesting that server to load the
15   particular webpage. Because Defendant utilizes the Meta Tracking Pixel, Meta’s embedded code,
16   written in JavaScript, sends secret instructions back to the individual’s browser, without alerting
17   the individual that this is happening. Meta causes the browser to secretly and simultaneously
18   duplicate the communication with Defendant, transmitting it to Meta’s servers alongside additional
19   information that transcribes the communication’s content and the individual’s identity. This entire
20   process occurs within milliseconds.
21          26.     In other words, when a user communicates with Defendant’s website, those
22   communications are simultaneously and contemporaneously duplicated and sent to Meta at the
23   same time as they are being sent to Defendant. Thus, Meta’s interception of these communications
24
     17
        FACEBOOK, SPECIFICATIONS FOR FACEBOOK PIXEL STANDARD EVENTS, https://
25   www.facebook.com/business/help/402791146561655?id=1205376682832142.
     18
26      FACEBOOK, ABOUT STANDARD AND CUSTOM WEBSITE EVENTS, https://www.facebook.com/
     business/help/964258670337005?id=1205376682832142; see also FACEBOOK, APP EVENTS API,
27   https://developers.facebook.com/docs/marketing-api/app-event-api/.
     19
        FACEBOOK, RETARGETING, https://www.facebook.com/business/goals/retargeting.
28

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 1   occurs “in transit.” See, e.g., In re Facebook Internet Tracking Litig., 956 F.3d 589, 608 (9th Cir.
 2   2020) (“Permitting an entity to engage in the unauthorized duplication and forwarding of
 3   unknowing users’ information would render permissible the most common methods of
 4   intrusion…”); Revitch v. New Moosejaw, LLC, 2019 WL 5485330, at *2 (N.D. Cal. Oct. 23, 2019)
 5   (“Even if the browser caused a parallel signal to be sent to NaviStone, that intervention happened
 6   while the signal was already in transit from Revitch’s device. Section 631’s protections extend
 7   explicitly to the beginnings and ends of communications…”); James v. Walt Disney Co.,
 8   --- F. Supp. 3d ---, 2023 WL 7392285, at *15-16 (N.D. Cal. Nov. 8, 2023) (finding in-transit
 9   interception was alleged based on similar process to the one alleged herein).
10          27.     After collecting and intercepting this information, Meta processes it, analyzes it, and
11   assimilates it into datasets like Core Audiences and Custom Audiences.
12          28.     Meta’s other Business Tools function the same. For mobile applications, advertisers
13   can utilize the Meta SDK, which contains “component SDKs,” like the App Events API, allowing
14   advertisers to track events on their mobile apps so they can “measure ad performance and build
15   audiences for ad targeting.” 20
16          29.     Advertisers can also utilize the “Conversions API.” The Conversions API lets
17   advertisers circumvent a user’s choice to exercise privacy controls. 21 More technically, the
18   Conversions API is Meta code that advertisers can implement server-side. 22
19          30.     Because it operates server-side, the Conversions API ignores users’ decision to opt
20   out of tracking, collecting the same data it would otherwise through “a connection between an
21   advertiser’s server and Meta’s Conversion API endpoint.” 23
22          31.     When the Conversions API collects “[s]erver events,” those data points are “linked
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24   20
        FACEBOOK, APP EVENTS API, https://developers.facebook.com/docs/marketing-api/app-event-
25   api/.
     21
        FACEBOOK, CONVERSIONS API, https://developers.facebook.com/docs/marketing-
26   api/conversions-api. This refers to device specific privacy controls.
     22
27      Id.
     23
        Id.
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     CLASS ACTION COMPLAINT                                                                                 7
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 1   to a Meta Pixel ID and are processed like web events sent via Pixel.” 24 As with the Meta Tracking
 2   Pixel, the Conversions API intercepts these communications contemporaneously and
 3   surreptitiously. 25 Meta “recommend[s] that advertisers implement the Conversions API alongside
 4   their Meta Pixel and follow other best practices.” 26
 5          32.      Meta confirms, in its “Meta Business Tools Terms,” 27 that it has the capability to
 6   the use information it collects for purposes other than recording it and conveying it to Defendant.
 7   For instance, Meta can use the information it collects “to promote safety and security on and off the
 8   Meta Products, for research and development purposes and to maintain the integrity of and to
 9   provide and improve the Meta Products.” In other words, Meta can use the wiretapped information
10   for its own “research and development,” and to “protect” its own products and services.
11          33.      Meta can also connect all information it collects to analyze and generate reports
12   regarding advertising campaigns, create custom audience sets that can be shared with other
13   advertisers, and “use your Event Data for ads delivery only after aggregating such Event Data with
14   other data collected from other advertisers or otherwise collected on Meta Products.”28
15          34.      Further, Meta can use the event data to help websites like Defendant’s “reach people
16   with transactional and other commercial messages on [Facebook] Messenger and other Meta
17   Products.” 29
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22      Id.
     25
        FACEBOOK, HANDLING DUPLICATE PIXEL AND CONVERSIONS API EVENTS, https://
23   developers.facebook.com/docs/marketing-api/conversions-api/deduplicate-pixel-and-server-events/
     (“Once your event fulfills both conditions, we keep the first one and remove the following one. If
24   a server and browser event arrive at approximately the same time (within 15 seconds of each
     other), we favor the browser event.”).
25   26
        Id.
     27
26      FACEBOOK, META BUSINESS TOOLS TERMS, https://m.facebook.com/legal/businesstech.
     28
27      Id.
     29
        Id.
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     CLASS ACTION COMPLAINT                                                                                8
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 1              35.    Finally, Meta can use the information it collects “to personalize the features and
 2   content (including ads and recommendations) that we show people on and off our Meta
 3   Products.” 30
 4              36.    Thus, Meta has the capability to use the information it wiretaps for purposes other
 5   than simply providing a recording to its customers, including but not limited to its own contact
 6   information matching; measurement and analytics services; ad targeting; commercial and
 7   transactional messages; ad delivery improvement; feature and content personalization; and product
 8   improvement, provision, and securement.
 9   II.        DEFENDANT EMPLOYS THE META TRACKING PIXEL TO TRACK
                USERS ON ITS WEBSITE, ENABLING META TO INTERCEPT USERS’
10              COMMUNICATIONS WITH DEFENDANT.
11              37.    Defendant has integrated the Meta Pixel, into its Website. By integrating the Pixel
12   into its Website code, Defendant has enabled Meta to intercept Defendant’s Website users’
13   communications with Defendant as users search and browse for products on the Website without
14   users’ consent.
15              38.    Through the Meta Pixel, Defendant enables Meta to intercept users’
16   communications with Defendant. When a user conducts a search on Defendant’s website,
17   communicating with Defendant that they are interested in a particular product, because Defendant
18   installed the Meta Pixel on its Website, the Meta Pixel generates two events, a PageView and
19   Search event that share metadata to Meta. The metadata for these events include the exact search
20   terms users input in Defendant’s Website’s search bar.
21              39.    For example, when a user searches for “purple water bottle” on the Stanely Website,
22   the Meta Pixel generates a PageView event that includes metadata that tells Meta the user searched
23   for “purple water bottle.” See Figures 1-2.
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     30
          Id.
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     CLASS ACTION COMPLAINT                                                                                  9
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                                         Figure 2
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     CLASS ACTION COMPLAINT                                            10
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 1          40.    The Search event similarly shares metadata with Meta that tells Meta that the user
 2   searched for “purple water bottle.” See Figures 3-4.
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     CLASS ACTION COMPLAINT                                                                             11
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 1          41.     Users’ search terms on Defendant’s Websites are communications that are a product
 2   of users affirmatively entering, and interacting with, information on the Website (i.e., the
 3   confidential communications are not procedurally or automatically generated).
 4          42.     Further, beyond intercepting Website users’ communications to Defendant via the
 5   Website, Defendant enables Meta to pair the event data with a user’s identity. Specifically, the
 6   Meta Pixel—as enabled by Defendant—pairs event data with a user’s Facebook ID.
 7          43.     When a user accesses Defendant’s Website while logged into Facebook, the Meta
 8   Pixel will compel that user’s browser to transmit the c_user cookie, which contains the user’s
 9   unencrypted Facebook ID. Figures 5 through 7 show a copy of the c_user cookie being transmitted
10   to facebook.com, as shown on the webpage by accessing developer tools by clicking on the F12
11   button on a keyboard.
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     CLASS ACTION COMPLAINT                                                                             12
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                                         Figure 7
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     CLASS ACTION COMPLAINT                                            13
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 1           44.    The c_user cookie is personally identifiable information because it contains a
 2   consumer’s unencrypted Facebook ID. A Facebook ID allows anybody – not just Meta – to
 3   identify the individual consumer. Specifically, if one types www.facebook.com/[FacebookID] into
 4   a web browser, it will load that individual’s Facebook page. For example, the c_user cookie in
 5   Figures 5-7 above is 100000984007553, and www.facebook.com/100000984007553 leads to this
 6   individual’s Facebook page.
 7           45.    When a visitor’s browser has recently logged out of an account, Meta compels the
 8   visitor’s browser to send a smaller set of cookies. 31 No matter the circumstances, Meta receives at
 9   least one cookie from a Website user’s browser—the fr cookie.
10           46.    The fr cookie contains, at least, an encrypted Facebook ID and browser identifier. 32
11   The _fbp cookie contains, at least, an unencrypted value that uniquely identifies a browser. 33 The
12   datr cookies also identifies a browser. Meta, at a minimum, uses the fr and _fbp cookies to identify
13   users. 34
14           47.    The fr cookie expires after ninety days unless the visitor’s browser logs back into
15   Facebook. 35 If that happens, the timer resets and another ninety days begins to accrue. 36
16           48.    The _fbp cookie expires after ninety days unless the visitor’s browser accesses the
17   same website. 37 If that happens, the time resets, and another ninety days begins to accrue. 38
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21      Not pictured here is the _fbp cookie, which is sent as a first-party cookie.
     32
        DATA PROTECTION COMMISSIONER, FACEBOOK IRELAND LTD, REPORT OF RE-AUDIT (Sept. 21,
22   2012), http://www.europe-v-facebook.org/ODPC_Review.pdf.
     33
23      FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES, https://www.facebook.com/policy/
     cookies/.
     34
24      Id.
     35
25      Id.
     36
        Confirmable through developer tools.
26   37
        See FACEBOOK, COOKIES & OTHER STORAGE TECHNOLOGIES, https://www.facebook.com/
27   policy/cookies/.
     38
        Also confirmable through developer tools.
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     CLASS ACTION COMPLAINT                                                                               14
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 1          49.     The Meta Tracking Pixel uses both first- and third-party cookies. A first-party
 2   cookie is “created by the website the user is visiting”—i.e., Defendant’s Website. 39 A third-party
 3   cookie is “created by a website with a domain name other than the one the user is currently
 4   visiting”—i.e., Meta. 40 The _fbp cookie is always transmitted as a first-party cookie. A duplicate
 5   _fbp cookie is sometimes sent as a third-party cookie, depending on whether the browser has
 6   recently logged into Facebook.
 7          50.     Meta, at a minimum, uses the fr, _fbp, and c_user cookies to link to Facebook IDs
 8   and corresponding Facebook profiles.
 9          51.     Defendant uses these cookies to pair event data with personally identifiable
10   information so it can later retarget consumers on Facebook.
11   III.   DEFENDANT NEVER RECEIVED USERS’ CONSENT TO EMPLOY
            THE META TRACKIGN PIXEL TO INTERCEPT USERS’
12          COMMUNICATIONS
13          52.     Defendant discloses its Website users’ confidential communications to Meta
14   without obtaining users’ consent.
15          53.     When a Website user first accesses the Website, they are faced with a cookie usage
16   banner at the bottom of the webpage that purports to give users the ability to choose whether to
17   accept the use of cookies on the Website, or to opt out of the use of cookies by pressing on the “Do
18   not sell or share my personal information” button. See Figure 8.
19

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21

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23

24

25
     39
26      PC MAGAZINE, FIRST-PARTY COOKIES, https://www.pcmag.com/encyclopedia/term/first-party-
     cookie. This is confirmable by using developer tools to inspect a website’s cookies and track
27   network activity.
     40
        Id. This is also confirmable by tracking network activity.
28

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 1

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 8

 9
                                                       Figure 8
10

11
             54.    As an initial matter, users are neither on notice of, nor do they consent to
12
     Defendant’s “cookie banner.” The banner is located at the bottom of the screen, and users are in no
13
     way required to engage with the cookie banner in order to use the Website. Effectively, the
14
     “cookie banner” is non-binding browsewrap. Price v. Carnival Corp., 2024 WL 221437, at *4-5
15
     (S.D. Cal. Jan. 19, 2024) (citing Nguyen v. Barnes & Noble Inc., 763 F.3d 1171 (9th Cir. 2014)).
16
             55.    Further, any “consent” ostensibly given by users is an illusion. Even when a user
17
     clicks “do not sell or share my personal information,” Defendant continues to share users’ personal
18
     browsing data and identifiers with Meta. Thus, Defendant never properly obtains consent from its
19
     users to disclose their communications, and any consent allegedly obtained is meaningless and
20
     void.
21
                                     CLASS ACTION ALLEGATIONS
22
             56.    Plaintiff Amanda Everson seeks to represent a class of all California residents who
23
     entered information into Defendant’s Website by conducting searches using the Website’s search
24
     bar while in California (the “Class”).
25
             57.    Plaintiff reserves the right to modify the class definition or add sub-classes as
26
     necessary prior to filing a motion for class certification.
27

28

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 1            58.   The “Class Period” is the time period beginning on the date established by the
 2   Court’s determination of any applicable statute of limitations, after considering of any tolling,
 3   concealment, and accrual issues, and ending on the date of entry of judgment.
 4            59.   Excluded from the Class are Stanley; any affiliate, parent, or subsidiary of Stanley;
 5   any entity in which Stanley has a controlling interest; any officer director, or employee of Stanley;
 6   any successor or assign of Stanley; anyone employed by counsel in this action; any judge to whom
 7   this case is assigned, his or her spouse and immediate family members; and members of the judge’s
 8   staff.
 9            60.   Numerosity. Members of the Class are so numerous that joinder of all members
10   would be unfeasible and not practicable. The exact number of Class Members is unknown to
11   Plaintiff at this time; however, it is estimated that there are hundreds of thousands of individuals in
12   the Class. Class Members can be readily identified from Stanley’s records and non-party records,
13   such as those of Meta.
14            61.   Typicality. Plaintiff’s claims are typical of the claims of the Class because
15   Plaintiff, like all other members, visited Stanley’s website and had her confidential electronic
16   communications intercepted and disclosed to Meta.
17            62.   Adequacy. Plaintiff is fully prepared to take all necessary steps to represent fairly
18   and adequately the interests of the Class. Plaintiff’s interests are coincident with, and not
19   antagonistic to, those of the members of the Class. Plaintiff is represented by attorneys with
20   experience in the prosecution of class action litigation generally and in the emerging field of digital
21   privacy litigation specifically. Plaintiff’s attorneys are committed to vigorously prosecuting this
22   action on behalf of the members of the Class.
23            63.   Common Questions of Law and Fact Predominate. Questions of law and fact
24   common to the members of the Class predominate over questions that may affect only individual
25   members of the Class because Defendant has acted on grounds generally applicable to the Class.
26   Such generally applicable conduct is inherent in Defendant’s wrongful conduct. Questions of law
27   and fact common to the Class include, but are not limited to, the following: whether Defendant
28

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 1   violated CIPA § 631 and whether Plaintiff and the proposed Class Members are entitled to
 2   damages, reasonable attorneys’ fees, pre-judgment interest and costs of this suit.
 3             64.   Superiority. Class action treatment is a superior method for the fair and efficient
 4   adjudication of the controversy. Such treatment will permit a large number of similarly situated
 5   persons to prosecute their common claims in a single forum simultaneously, efficiently, and
 6   without the unnecessary duplication of evidence, effort, or expense that numerous individual
 7   actions would engender. The benefits of proceeding through the class mechanism, including
 8   providing injured persons or entities a method for obtaining redress on claims that could not
 9   practicably be pursued individually, substantially outweigh potential difficulties in the management
10   of this class action. Plaintiff knows of no special difficulty to be encountered in litigating this
11   action that would preclude its maintenance as a class action.
12                                         CLAIMS FOR RELIEF
13                                                COUNT I
                             Violation Of The California Invasion Of Privacy Act,
14                                          Cal. Penal Code § 631
15             65.   Plaintiff incorporates by reference the preceding paragraphs as if fully set forth
16   herein.
17             66.   Plaintiff brings this claim against Defendant individually and on behalf of the Class.
18             67.   CIPA § 631(a) imposes liability for “distinct and mutually independent patterns of
19   conduct.” Tavernetti v. Superior Ct., 22 Cal. 3d 187, 192-93 (1978). Thus, to establish liability
20   under CIPA § 631(a), a plaintiff need only establish that the defendant, “by means of any machine,
21   instrument, contrivance, or in any other manner,” does any of the following:
22                      Intentionally taps, or makes any unauthorized connection, whether
                        physically, electrically, acoustically, inductively or otherwise,
23                      with any telegraph or telephone wire, line, cable, or instrument,
                        including the wire, line, cable, or instrument of any internal
24                      telephonic communication system,

25                      Or

26                      Willfully and without the consent of all parties to the
                        communication, or in any unauthorized manner, reads or attempts
27                      to read or learn the contents or meaning of any message, report, or
                        communication while the same is in transit or passing over any
28

     CLASS ACTION COMPLAINT                                                                                18
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                        wire, line or cable or is being sent from or received at any place
 1                      within this state,
 2                      Or
 3                      Uses, or attempts to use, in any manner, or for any purpose, or to
                        communicate in any way, any information so obtained,
 4
                        Or
 5
                        Aids, agrees with, employs, or conspires with any person or
 6                      persons to unlawfully do, or permit, or cause to be done any of the
                        acts or things mentioned above in this section.
 7

 8          68.     CIPA § 631(a) is not limited to phone lines, but also applies to “new technologies”
 9   such as computers, the Internet, and email. See Matera v. Google Inc., 2016 WL 8200619, at *21
10   (N.D. Cal. Aug. 12, 2016) (CIPA applies to “new technologies” and must be construed broadly to
11   effectuate its remedial purpose of protecting privacy); see also Javier v. Assurance IQ, LLC, 2022
12   WL 1744107, at *1 (9th Cir. May 31, 2022) (“Though written in terms of wiretapping, Section
13   631(a) applies to Internet communications.”).
14          69.     The Meta Pixel is a “machine, instrument, contrivance, or … other manner” used to
15   engage in the prohibited conduct at issue here.
16          70.     Meta is a “separate legal entity that offers [a] ‘software-as-a-service’ and not merely
17   a passive device.” Saleh v. Nike, Inc., 562 F. Supp. 3d 503, 520 (C.D. Cal. 2021). Further, Meta
18   had the capability to use the wiretapped information for its own purposes. Accordingly, Meta was
19   a third party to any communication between Plaintiff and Class Members, on the one hand, and
20   Defendant, on the other. Id. at 521; see also Javier v. Assurance IQ, LLC, 649 F. Supp. 3d 891,
21   900 (N.D. Cal. 2023).
22          71.     At all relevant times, Meta willfully and without the consent of all parties to the
23   communication, or in any unauthorized manner, read, attempted to read, and/or learned the
24   contents or meaning of electronic communications of Plaintiff and Class Members, on the one
25   hand, and Defendant, on the other, while the electronic communications were in transit or were
26   being sent from or received at any place within California.
27

28

     CLASS ACTION COMPLAINT                                                                               19
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 1          72.     At all relevant times, Meta used or attempted to use the communications intercepted
 2   by its Pixel to promote and improve its advertising platform.
 3          73.     At all relevant times, Defendant aided, agreed with, employed, permitted, or
 4   otherwise enabled Meta to wiretap Plaintiff and Class Members using the Meta Pixel and to
 5   accomplish the wrongful conduct at issue here.
 6          74.     Plaintiff and Class Members did not provide their prior consent to Meta’s
 7   intentional access, interception, reading, learning, recording, collection, and usage of Plaintiff and
 8   Class Members’ electronic communications. Nor did Plaintiff and Class Members provide their
 9   prior consent to Defendant aiding, agreeing with, employing, permitting, or otherwise enabling
10   Meta’s conduct.
11          75.     The wiretapping of Plaintiff and Class Members occurred in California, where
12   Plaintiff and Class Members accessed the Stanely Website and where Meta—as enabled by
13   Defendants—routed Plaintiff and Class Members’ electronic communications to their servers.
14          76.     Pursuant to Cal. Penal Code § 637.2, Plaintiff and Class Members have been injured
15   by Defendants’ violations of CIPA § 631(a), and each seeks statutory damages of $5,000 for each
16   of Defendant’s violations of CIPA § 631(a).
17                                         PRAYER FOR RELIEF
18          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seek
19   judgment against Defendant, as follows:
20                  (a)     For an order certifying the putative Class, naming Plaintiff as the
                            representative of the putative Class, and naming Plaintiff’s
21                          attorneys as Class Counsel to represent the putative Class
                            Members;
22
                    (b)     For an order declaring that the Defendant’s conduct violates the
23                          statutes referenced herein;
24                  (c)     For an order finding in favor of Plaintiff and the putative Class on
                            all counts asserted herein;
25
                    (d)     For statutory damages in amounts to be determined by the Court
26                          and/or jury;
27                  (e)     For prejudgment interest on all amounts awarded;
28

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                    (f)     For injunctive relief as pleaded or as the Court may deem proper;
 1                          and
 2                  (g)     For an order awarding Plaintiff and the putative Class their
                            reasonable attorneys’ fees and expenses and costs of suit.
 3

 4                                     DEMAND FOR JURY TRIAL

 5          Plaintiff, on behalf of herself and the proposed Class, demand a trial by jury for all of the

 6   claims asserted in this Complaint so triable.

 7

 8   Dated: March 28, 2024                           Respectfully submitted,

 9                                                   BURSOR & FISHER, P.A.

10                                                   By: /s/ Sarah N. Westcot

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